          Case 3:21-md-02981-JD Document 103 Filed 09/10/21 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                                           Civil Minutes


Date: September 9, 2021                                                  Judge: Hon. James Donato

Time: 32 Minutes

Case No.        3:21-md-02981-JD
Case Name       In re Google Play Store Antitrust Litigation

Attorney(s) for Plaintiff(s):     Gary Bornstein/Karma Giulianelli/Hae Sung Nam/
                                  Bonny E. Sweeney/Eamon Kelly/Ben M. Harrington/
                                  Brendan Glackin/David Sonnenreich/Paula Blizzard
Attorney(s) for Defendant(s):     Brian Rocca/Ian Simmons

Deputy Clerk: Lisa R. Clark                                              Court Reporter: Belle Ball

                                         PROCEEDINGS

Status Conference -- Held (by remote access)

                                      NOTES AND ORDERS

For the case schedule, the parties should plan for the first trial to begin on September 6, 2022.

The parties are directed to reference the scheduling order in In re Capacitors Antitrust Litigation,
Case No. 14-cv-03264-JD, Dkt. No. 1405, and to use the applicable portions of that order as a
template for the sequencing and pacing for this case. A new schedule based on that template
should be submitted by September 23, 2021. The schedule should include Google’s proposed
date for filing answers to the four complaints. A proposed trial plan should be finalized and
submitted to the Court by mid-January 2022.

For the discovery issue relating to the documents produced to the States during investigations,
the parties (including the States) are directed to further meet and confer in light of the discussion
held at the status conference. If no resolution is reached, the parties may file discovery dispute
letters on September 20, 2021, including each party’s specific compromise proposal for the
Court’s consideration. The States may disclose relevant CIDs (and Google’s responses thereto)
during the meet and confer in order to aid the negotiations.

For the source code issue raised by the Consumer Plaintiffs, the parties will further meet and
confer in light of the discussion held at the status conference, and may file discovery dispute
letters if the further meet-and-confer efforts are not successful.
